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                            Pages From the registry of

                                  Arab Cohorts
                                       In
                                  Afghanistan
                    There is no god but god and Mohammad is his messenger




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        In the Name of the Lord the most Gracious most Forgiving




                                                          MR/ARA001080
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                       Pages From the registry of
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                              Afghanistan

                                   (Part One)




                                 Basil Mohammad




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                                                - Preface –
       Praise the Lord, and Peace Be upon his messenger Mohammad, all his kin and Companions…
       thereon:

       There is no need to prove that Afghani Jihad has occupied the forefront position in the interest of
       the Islamic nation during the past eighties decade, and it has earned the distinguished status in
       various local, regional and global circles ever since, and through a curve chart that interfered in its
       up and down shaping, many reasons and effects… and there is no need for a lot of research to
       show that to assure that unique distinguished experience – over the whole century- was and still in
       urgent need of extra care, study and scrutiny, just as it was and still is tied to a strap of repetitive
       pattern of studies and follow ups that did not quit the emotional condition chronic as always, and
       did not go beyond bombastic compositional speech unless in few occasions,… The thing that
       made the elements of this experience and those interested and observers and those eager lose the
       larger amount of its awaited revenue. And has made an impregnable barrier of fog and mist, that
       came between the experience, and those most needy to benefit from its harvest!

       And if this is the reality of the Jihad experience of Afghanistan in general, and the reality of the
       study patterns which treated it, it has been one of its most special contents that was attached to
       those non afghan and most attached to movements, groups, factions and Arab individuals working
       on the Islamic arena- presently and in the future- is that participation that was registered by the
       Arab cohorts there, from the start days of this issue till now…and the rich variation of patterns of
       this participation, it conditions, phases, and stages passed, experiences gained, advantages
       achieved and disadvantages emitted, and temporary endings it reached… the thing which
       presented to those working for a better Islamic future a priceless amount of lessons, education and
       experiences, that rarely a mindful nation can attain something similar, and never stops studying it
       wisely, and devote itself to its tireless perusal, where it has grouped its pride and attachment to that
       experience and the persons behind it and its heroes, and between its disentanglement in the pursuit
       of lessons, and impartiality in deriving wisdom and seriousness in investigation right and wrong
       traps.




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